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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


  MICHAEL MCCUEN, for himself and all
  others similarly situated,                           Case No.

                        Plaintiff,
                  v.
                                                       JURY TRIAL DEMANDED
  MAINES PAPER & FOOD SERVICE,
  INC.,
                Defendant.


                                CLASS ACTION COMPLAINT

       Michael McCuen (“Plaintiff”), by and through his undersigned attorneys, hereby makes

the following allegations against Maines Paper & Food Service, Inc. (“Defendant” or “Maines”)

concerning his acts upon actual knowledge and concerning all other matters upon information,

belief and the investigation of his counsel:

                                     NATURE OF THE CASE

       1.       Plaintiff brings this action to redress Defendant’s common policies and procedures

that give rise to common violations of the New York Labor Law (“NYLL”) and New York Codes,

Rules and Regulations (“NYCRR”) for all Maines Driver’s Helpers who: 1) do not receive all

wages due for work they perform, including overtime premium wages owed for hours worked in

excess of forty per workweek (Count I); 2) do not receive the applicable minimum wage as

required by the NYLL (Count II); 3) do not receive a “spread of hours” premium required by the

NYLL and applicable regulations (Count III); 4) do not receive wage notices that include the

information required by the NYLL (Count IV); and 5) do not receive wages statements that provide

the information required by the NYLL (Count V).
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        2.          Plaintiff brings his NYLL and NYCRR claims as a class action pursuant to Fed. R.

Civ. P. 23 for a putative Class including all people who worked as a Maines Driver’s Helper and

made deliveries in the State of New York during the six years preceding the filing of this Complaint

(the “Class”).

                                              THE PARTIES

        3.          Plaintiff is an adult resident and citizen of Brackney, Pennsylvania (Susquehanna

Co.). Plaintiff worked for Defendant as a Driver’s Helper from November 2015 through March

2018. During this time, the majority of Plaintiff’s work involved reporting to work at Defendant’s

Conklin, New York warehouse and making deliveries in New York State. Plaintiff is personally

familiar with, and has been personally affected by, the policies and practices described in this

Complaint.

        4.          Defendant is an independent foodservice distributor. Defendant is incorporated

under New York law and maintains its principal place of business in Conklin, New York.

Defendant is registered to do business in Pennsylvania as a foreign corporation.

                                     JURISDICTION AND VENUE

        5.          Pursuant to 42 Pa. Cons. Stat. Ann. § 5301(a)(2)(i) Defendant has consented to

general personal jurisdiction in Pennsylvania because Defendant registered to do business in

Pennsylvania as a foreign corporation.

        6.          This Court has jurisdiction in this case pursuant to 28 U.S.C.A. § 1332(a), because

Plaintiff is a citizen of Pennsylvania, Defendant is a citizen of New York and the amount in

controversy in this matter exceeds $75,000.00.

        7.          Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2), because Plaintiff

resides in this District, suffered the losses at issue in this District, and has done work for Defendant

in this District.
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                                     OPERATIVE FACTS

       8.       In New York City, the required minimum wage is currently $13.00 per hour. See

12 N.Y.C.R.R. § 142-2.1(a)(1)(i). In the remainder of down-state New York (Nassau, Suffolk,

and Westchester Counties) the required minimum wage is currently $11.00 per hour. See 12

N.Y.C.R.R. § 142-2.1(a)(2). In the rest of New York State, the required minimum wage is

currently $10.40 per hour. See 12 N.Y.C.R.R. § 142-2.1(a)(3). The rate that applies is based on

where the work is performed. See 12 N.Y.C.R.R. § 142-2.1(a).

              Failure To Pay All Wages Due Including Overtime Premium Wages

       9.       At all relevant times, 12 N.Y.C.R.R. § 142-2.2 has required employers to pay their

employees all wages owed for the hours they actually worked, including one and a half times their

regular minimum rate each hour worked over forty.

       10.      Defendant has never paid Plaintiff or the Class members any overtime premium

wages, even though they have routinely worked more than forty hours per week.

       11.      Furthermore, Defendant has occasionally suffered or permitted Plaintiff and the

Class members to work more than fourteen hours per day without tracking this time or paying any

wages for hours beyond fourteen per day.

                        Failure To Pay The Applicable Minimum Wage

       12.      At all relevant times, NYLL § 652 has required employers to pay their employees

minimum regular and overtime wages pursuant to 12 N.Y.C.R.R. § 142-2.1.

       13.      Defendant has paid its Driver’s Helpers, including Plaintiff, $130.00 for an

anticipated fourteen-hour work day, or $260.00 for a scheduled two-day route. For the past year,

Plaintiff has typically worked about 56 hours per week and been paid $520.00 per week (four work

days x $130.00 per day = $520.00), or $9.28 per hour – a rate between $1.12 per hour and $3.72

per hour below the mandatory minimum wage rate.
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                  Failure To Pay The Required “Spread Of Hours” Premium

        14.     At all relevant times, 12 N.Y.C.R.R. § 142-2.4 has required has required employers

to pay their employees an additional hour of pay at the basic minimum hourly wage rate in any

day they work more than ten hours.

        15.     Even though Defendant routinely suffers or permits Plaintiff and the Class members

to work more than ten hours per day, it has not paid them an extra spread of hours premium on

these days.

              Failure To Pay For Time Employees Were Required To Be Available

        16.     At all relevant times, 12 N.Y.C.R.R. § 142-2.1(b) has required has required

employers to pay their employees the minimum wage for all hours they are required to be available

for work at a place it prescribes, because these hours are considered time worked.

        17.     Defendant has regularly required Plaintiff and the Class members to report to its

warehouse in Conklin, New York and then drive to New York City where they would sleep in a

hotel, make deliveries, and then drive back to Conklin, New York over a two-day period. During

these trips, Defendant routinely required Plaintiff and Class members to be available for work at a

place it prescribed but paid no wages for hours in which they were not actively driving or making

deliveries.

                           Failure To Provide Required Wage Notices

        18.     At all relevant times, NYLL § 195(1)(a) has required employers to provide their

non-exempt employees with wage notices stating their regular hourly rate of pay and overtime

rate of pay at the time of hiring.

        19.     Even though Plaintiff and the Class members are non-exempt employees,

Defendant did not provide them with wage notices sating their regular hourly rate of pay and

overtime rate of pay at the time of hiring.
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                      Failure To Provide Required Wage Statements

       20.      At all relevant times, NYLL § 195(3) has required employers to provide their

non-exempt employees with wage statements with every paycheck that identify their regular

hourly rate(s) of pay, overtime rate(s) of pay, number of regular hours worked and number of

overtime hours worked.

       21.      Even though Plaintiff and the Class members are non-exempt employees,

Defendant did not provide them with wage statements including their regular hourly rate(s) of

pay, their overtime rate(s) of pay, their number of regular hours worked, or their number of

overtime hours worked.

                             CLASS ACTION ALLEGATIONS

       22.      Plaintiff brings his NYLL and NYCRR claims for himself and all people as a class

action pursuant to Fed. R. Civ. P. 23 for a putative Class including all people who worked as a

Maines Driver’s Helper and made deliveries in the State of New York during the six years

preceding the filing of this Complaint.

       23.      The Class specifically excludes Defendant, any parent, subsidiary, or affiliate of

Defendant, any entity in which Defendant has a controlling interest, or which Defendant otherwise

controls, any officer, director, employee, legal representative, predecessor, successor, or assignee

of Defendant.

       24.      Class treatment of Plaintiff’s NYLL and NYCRR claims is appropriate because the

putative Class satisfies the requirements of Fed. R. Civ. P. 23.

       25.      The putative Class is so numerous that joinder of all its members would be

impracticable. During the relevant period, one hundred or more people have worked as a Maines

Driver’s Helper and made deliveries in New York.



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       26.     Plaintiff’s claims are typical of the claims of the putative Class members, and he

has no interests that are antagonistic to, or in conflict with, the interests of the putative Class

because:

              a.      Plaintiff and the Class members all worked as Maines Driver’s
       Helpers;

             b.       Plaintiff and the Class members performed similar job duties for
       Defendant;

              c.    Plaintiff and the Class members were subject to the same policies
       and procedures relating to their work, time and compensation, which had the
       common effect of failing to pay Plaintiff and the Class members minimum wage,
       overtime wages, “spread of hours” pay; and

               d.     Plaintiff and the Class members were subject to the same policies
       and procedures related to the wage notices and wage statements they received,
       which had the common effect of failing to provide Plaintiff and the Class members
       with the information required under the NYLL regarding their regular and overtime
       rates of pay and hours worked at each rate.

       27.     There are many questions of law and fact common to the claims of the putative

Class members because this action concerns the legality of Company-wide compensation policies

and practices that raise many common questions, including:

             a.   whether Defendant has failed to pay the Class members the
       minimum wage for each hour of work it suffered or permitted them to perform;

               b.      whether Defendant has failed to pay the Class members for the time
       it required them to be available for work at a place prescribed by Defendant;

               c.      whether Defendant has failed to pay the Class members all wages
       due for their work, including overtime premium wages owed for all hours over forty
       per workweek;

              d.      whether Defendant has failed to pay the Class members an extra
       hour’s pay for the “spread of hours” worked;

              e.     whether Defendant has failed to provide the Class members with
       wage notices containing their regular hourly rate of pay and their overtime rate of
       pay; and



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               f.     whether Defendant has failed to provide the Class members with
        wage statements regarding their regular hourly rate and overtime rate of pay, their
        number of regular hours worked and overtime hours worked.

        28.     Plaintiff will fairly and adequately protect the interests of the putative Class

members and has retained competent and experienced counsel for this purpose.

        29.     Class certification is appropriate under Federal Rule of Civil Procedure 23(b)(3)

because common questions of law and fact predominate over questions affecting only individual

Class members and because a class action is superior to other available methods for the fair and

efficient adjudication of this litigation for at least the following reasons:

                a.     absent a class action, Class members will be essentially unable to
        redress the conduct pled here, Defendant’s violations will continue without remedy
        and Defendant’s employees will continue to be harmed;

                b.     a class action will permit an orderly and expeditious administration
        of class claims, foster economies of time, effort and expense;

               c.    this lawsuit presents no particularly unusual or difficult issues that
        would impede its management as a class action; and

             d.     Defendant has acted on grounds generally applicable to Class
        members, making class-wide management appropriate.

        30.     Allowing Plaintiff’s claims to proceed as a class action will be superior to requiring

the individual adjudication of each Class member’s claim, since requiring a hundred or more

hourly-paid employees to file and litigate individual wage claims would cause an undue burden on

Defendant, the Class members and the Courts. Class action treatment will allow a large number

of similarly-situated persons to prosecute their common claims in a single forum simultaneously,

efficiently and without the unnecessary duplication of effort and expenses if these claims were

brought individually. Moreover, as the damages suffered by each Class member are relatively

small, the expenses and burdens associated with individual litigation would make it difficult for

plaintiffs to bring individual claims. Further, the presentation of separate actions by individual

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Class members could create a risk for inconsistent and varying adjudications, establish

incompatible standards of conduct for Defendants and/or substantially impair or impede the ability

of Class members to protect their interests.

                                           COUNT I
                        Failure To Pay Wages Due In Violation Of NYLL
                         (On Behalf of Plaintiff and the Class members)

       31.       Each of the preceding paragraphs is incorporated by reference as though fully set

forth herein.

       32.       During the Class Period, Plaintiff and the Class members were “employees” within

the meaning of NYLL §§ 2(7), 651(5), 190(2) and 12 N.Y.C.R.R. § 142-2.14.

       33.       During the Class Period, Defendant was an employer within the meaning of NYLL

§§ 651(6) and 190(3).

       34.       During the Class Period, Plaintiff and the Class members have been entitled to

the rights, protections and benefits provided under the NYLL §§ 650 et seq. and 190 et seq.

       35.       Plaintiff and the Class members are not exempt from overtime compensation as

established by the commissioner’s wage orders or otherwise provided by New York State law

or regulation.

       36.       The NYLL provides that employees have the following entitlement to overtime

premium wages:

                 [a]n employer shall pay an employee for overtime at a wage rate of
                 one and one-half times the employee’s regular rate in the manner
                 and methods provided in and subject to the exemptions of sections
                 7 and 13 of 29 U.S.C. 201 et seq… In addition, an employer shall
                 pay employees subject to the exemptions of section 13 of the Fair
                 Labor Standards Act, as amended, except employees subject to
                 sections 13(a)(2) and (4) of such Act, overtime at a wage rate of one
                 and one-half times the basic minimum hourly rate.

See 12 N.Y.C.R.R. § 142-2.2.

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        37.     During the Class Period, Defendant willfully violated the NYLL, Article 19, §§

650, et seq. and 12 N.Y.C.R.R. § 142-2.2 by failing to pay Plaintiff and the Class members all

wages due for work they performed, including overtime premium wages of not less than 1½ times

the New York State minimum wage rate for each hour worked in excess of 40 hours per workweek.

        38.     Defendant has no good faith justification or defense for failing to pay Plaintiff and

the Class members the overtime wages mandated by 12 N.Y.C.R.R. § 142-2.2.

        39.     NYLL § 663(1) provides that Plaintiff and the Class members are entitled to recover

the full amount of their wage underpayments during the six years preceding the filing of this

Complaint, plus periods of equitable tolling, an award of costs and reasonable attorneys’ fees

incurred in pursuing this claim, an award of prejudgment interest paid at the applicable legal rate

and a penalty in the amount of 100% of the total payment due for the relevant period as it had no

good faith basis to believe its wage payments to Plaintiff and the Class members complied with

the NYLL.

                                         COUNT II
                    Failure To Pay Minimum Wage In Violation of NYLL
                       (On Behalf of Plaintiff and the Class Members)

        40.     Each of the preceding paragraphs is incorporated by reference as though fully

set forth herein.

        41.     NYLL § 652 regulates the payment of minimum wages and provides that

employers must pay their employees at a rate at least equal to the New York minimum wage

rates provided by 12 N.Y.C.R.R. § 142-2.1.

        42.     During the Class Period, Defendant willfully violated the NYLL by paying

Plaintiff and the Class members at hourly wage rates between $1.12 per hour and $3.72 per

hour below the mandatory minimum wage rate applied in the locations they worked.



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        43.     Furthermore, pursuant to 12 N.Y.C.R.R. § 142-2.1(b), an employer is required

to pay employees the minimum wage for time they are permitted to work or are required to be

available for work at a place prescribed by the employer.

        44.     During the Class Period, Defendant willfully violated the NYLL by failing to

pay Plaintiff and Class members for the hours they were required to be available for work at a

place prescribed by Defendant.

        45.     Defendant has no good faith justification or defense for failing to pay Plaintiff and

the Class members the minimum wages mandated by 12 N.Y.C.R.R. § 142-2.1.

        46.     NYLL § 663(1) provides that Plaintiff and the Class members are entitled to

recover the amount of their unpaid minimum wages during the six years preceding the filing

of this Complaint, plus periods of equitable tolling, an award of costs and reasonable attorneys’

fees incurred in pursuing this claim, an award of prejudgment interest paid at the applicable

legal rate and a penalty in the amount of 100% of the total payment due for the relevant period

as it had no good faith basis to believe its wage payments to Plaintiff and the Class members

complied with the NYLL.

                                         COUNT III
              Failure To Pay “Spread Of Hours” Premium In Violation of NYLL
                        (On Behalf of Plaintiff and the Class Members)

        47.     Each of the preceding paragraphs is incorporated by reference as though fully

set forth herein.

        48.     The NYLL requires employers to provide “spread-of-hours” pay in addition to

the New York minimum wage for any day in which an employee’s “spread of hours” exceeds

ten hours. See 12 N.Y.C.C.R. § 142-2.4.

        49.     During the Class Period, Defendant willfully violated the NYLL by routinely

scheduling Plaintiff and the Class members to work an anticipated fourteen-hour workday (i.e.,
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more than ten hours per workday) and failing to provide Plaintiff and the Class members with

“spread of hours” pay for any of their workdays of more than ten hours.

        50.     Defendant has no good faith justification or defense for failing to pay Plaintiff and

the Class members the overtime wages mandated by 12 N.Y.C.R.R. § 142-2.4.

        51.     NYLL § 663(1) provides that Plaintiff and the Class members are entitled to

recover one hour’s pay at the required rate for each day they worked over ten hours during the

six years preceding the filing of this Complaint, plus periods of equitable tolling, an award of

costs and reasonable attorneys’ fees incurred in pursuing this claim, an award of prejudgment

interest paid at the applicable legal rate and a penalty in the amount of 100% of the total amount

due for the relevant period as it had no good faith basis to believe its wage payments to Plaintiff

and the Class members complied with the NYLL.

                                          COUNT IV
                    Failure To Provide Wage Notices In Violation of NYLL
                        (On Behalf of Plaintiff and the Class Members)

        52.     Each of the preceding paragraphs is incorporated by reference as though fully

set forth herein.

        53.     NYLL §§ 195(1) requires employers to provide employees with a notice at the

time of hire that states their regular hourly wage rate and their overtime rate of pay.

        54.     During the Class Period, Defendant willfully violated NYLL § 195(1) by failing

to provide Plaintiff and the Class members a notice at the time of hire that states their regular

hourly wage rate and their overtime rate of pay.

        55.     Defendant has no good faith justification or defense for failing to provide the notice

mandated by NYLL §§ 195(1).

        56.     NYLL § 198(1-b) provides that Plaintiff and the Class members are entitled to

recover $50.00 dollars for each workday following their tenth day of employment on which
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Defendant failed to provide the required wage notice up to of $5,000.00 each plus an award of

costs and reasonable attorneys’ fees incurred in pursuing this claim.

                                           COUNT V
              Failure To Provide Required Wage Statements In Violation of NYLL
                         (On Behalf of Plaintiff and the Class Members)

        57.      Each of the preceding paragraphs is incorporated by reference as though fully

set forth herein.

        58.      NYLL § 195(3) requires employers to provide employees with a wage

statement each pay period that includes their regular hourly rate(s) of pay, their overtime rate(s)

of pay, their number of regular hours worked and their number of overtime hours worked.

        59.      During the Class Period, Defendant willfully violated NYLL § 195(3) by failing

to supply Plaintiff and the Class members with a wage statement each pay period that includes

their regular hourly rate(s) of pay, their overtime rate(s) of pay, their number of regular hours

worked and their number of overtime hours worked.

        60.      Defendant has no good faith justification or defense for failing to provide the notice

mandated by NYLL §§ 195(3).

        61.      NYLL § 198(1-b) provides that Plaintiff and the Class members are entitled to

recover $50.00 dollars each time Defendant failed to provide them with the required wage

statement in the last six years, plus periods of equitable tolling, up to a total of $5,000.00 each

plus an award of costs and reasonable attorneys’ fees incurred in pursuing this claim.

        WHEREFORE, Plaintiff respectfully prays for an Order:

              a. Certifying this action as a class action;

              b. Approving Plaintiff as an adequate Class representative;

              c. Appointing Finkelstein, Blankinship, Frei-Pearson & Garber, LLP
                 and Stephen Zouras, LLP as Class Counsel;

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   d. Authorizing Class Counsel to issue a notice informing the Class
      members this action has been filed, of the nature of the action, and
      of their right to opt out of this lawsuit;

   e. Finding that Defendant willfully violated the applicable state laws
      by failing to pay all required wages to Plaintiff and the Class
      members;

   f. Granting judgment in favor of Plaintiff and the Class members on
      all counts;

   g. Awarding all available compensatory damages in amounts to be
      determined;

   h. Awarding all available liquidated damages in amounts to be
      determined;

   i. Awarding pre-judgment interest on all compensatory damages due;

   j. Awarding a reasonable attorney’s fee and reimbursement of all costs
      and expenses incurred in litigating this action;

   k. Awarding all available equitable and injunctive relief precluding the
      continuation of the policies and practices pled in this Complaint;

   l. Awarding Plaintiff and the Class such other and further relief as this
      Court deems just and proper; and

   m. Maintaining jurisdiction over this action to ensure Defendant’s
      compliance with the foregoing.


                            JURY TRIAL DEMAND

Pursuant to Fed. R. Civ. P. 38, Plaintiff hereby demands a trial by jury.



                                      Respectfully Submitted,

Dated: April 30, 2018                 /s/ David J. Cohen
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